






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-093 CR


NO. 09-05-094 CR


____________________



MONICA LYNN LEBOUEF, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause Nos. 93412 and 93617






MEMORANDUM OPINION (1)


	Monica Lynn LeBouef was convicted of the offense of possession of a controlled
substance in Cause No. 93412 and was convicted of burglary of a habitation in Cause No.
93617.  LeBouef filed notice of appeal on February 18, 2005.  In each case, the trial court
entered a certification of the defendant's right to appeal in which the court certified that
this is a plea-bargain case, and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certifications have been provided to the Court of Appeals by
the district clerk.

	On March 9, 2005, we notified the parties that the appeals would be dismissed
unless amended certifications were filed within thirty days of the date of the notices and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The records have not been
supplemented with amended certifications.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeals must
be dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeals for want of jurisdiction.

	APPEALS DISMISSED.

								PER CURIAM


Opinion Delivered April 13, 2005

Do Not Publish

Before McKeithen, C.J., Kreger and Horton, JJ.
1. Tex. R. App. P. 47.4.


